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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES,                                     §
                                                   §
v.                                                 §            Cr. No. C-05-701 (3)
                                                   §
VICTOR ARCOS-BENITEZ.                              §


           ORDER GRANTING MOTION FOR APPOINTMENT OF COUNSEL

        Defendant Victor Arcos-Benitez (“Arcos-Benitez”) was convicted after a jury trial, and was

sentenced by Chief Judge Head on May 17, 2006. (D.E. 83). Final judgment was entered against

him on May 24, 2006, and he timely appealed. (D.E. 88, 84). On July 3, 2006, the Clerk received

from Arcos-Benitez a letter motion requesting the appointment of counsel to represent him on

appeal. By Order entered July 7, 2006, the undersigned noted that Arcos-Benitez had provided

insufficient financial information to allow a determination as to his financial eligibility for appointed

counsel, and ordered that he provide such information within twenty days.

        On July 20, 2006, Arcos-Benitez filed an application to proceed in forma pauperis,

apparently in response to the undersigned’s earlier order. Arcos-Benitez did not complete that

portion of the ifp application that asks for a certification from an authorized officer of his place of

incarceration stating the amount in his account or his average balance. He completed the remainder

of the application, however, indicating that his last employment was in January 2005, when he

earned $300 monthly. He further avers that he has not received any money from any source in the

past twelve months, and also indicates that he currently has $180 in a checking account, saving

account, or his prison account. (D.E. 106).




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       Based on the foregoing information, the undersigned concludes that Arcos-Benitez is

financially unable to obtain counsel. See 18 U.S.C. § 3006A(b). Accordingly, his motion for

appointment of counsel (D.E. 98) is GRANTED.

       Attorney Hector del Toro, 8805 Caroline Road, Corpus Christi, Texas 78409, Telephone

(361)241-3245, is appointed to represent defendant Victor Arcos-Benitez.

       ORDERED this 8th day of August, 2006.




                                           ____________________________________
                                            B. JANICE ELLINGTON
                                           UNITED STATES MAGISTRATE JUDGE




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